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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 22-CR-20104-JEM(s)(s)(s)(s)

UNITED STATES OF AMERICA
vs.
JOSEPH VINCENT,

a/k/a “Mr. White,”

a/k/a “Blanco,”

Defendant.

STIPULATED FACTUAL PROFFER IN SUPPORT OF PLEA

If this matter were to proceed to trial, the Government would prove the following facts
beyond a reasonable doubt. The Parties agree that these facts, which do not include all facts
known to the Government and the Defendant, JOSEPH VINCENT, are sufficient to prove the
guilt of the Defendant as to counts one, two and three of the Fourth Superseding Indictment:

Starting in approximately February 2021, and continuing through July 7, 2021, VINCENT
conspired to provide and provided material support and resources, specifically personnel
(including himself) and services, knowing and intending that the material support and resources
would be used to prepare for and carry out the forcible removal of Haitian President Jovenel Moise
by kidnapping and/or assassination (the “operation”), and the death of President Moise resulted
from the operation. VINCENT provided advice to his co-conspirators about the Haitian political
landscape, attended meetings with important Haitian political and community leaders, and
frequently wore a U.S. State Department pin, which had the effect of leading others to believe that

he was employed by the U.S. State Department.

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In January 2021, VINCENT travelled from the Southern District of Florida to Haiti for the
purpose of supporting co-defendant Christian Sanon’s efforts to remove President Moise and
assume the presidency himself. Initially, the co-conspirators’ plan was to motivate Haitian citizens
to engage in large-scale public protests of Moise’s presidency and use the protests as cover to
forcibly remove President Moise by using weapons. When VINCENT and his co-conspirators
came to believe that Sanon lacked public support, they decided to back a former Haitian Supreme
Court judge as the replacement to Moise. VINCENT attended meetings with Joseph Joel John,
James Solages, German Rivera, and other Colombian mercenaries (to include Mario Antonio
Palacios Palacios), in which various other plans to remove President Moise were discussed, to
include “arresting” him and eventually, assassinating him.

On July 6, 2021, Vincent met his co-conspirators at a house controlled by Rodolphe Jaar
in order to stage for the assassination operation. In the early morning hours of July 7, was a
passenger in a vehicle driven by James Solages to President Moise’s residence; two Colombians,
including German Rivera, were also in the vehicle. A group of Colombian mercenaries entered
the presidential residence in Haiti with the intent and purpose of killing President Moise, and in

fact, the President was killed.

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The aforementioned criminal acts were calculated to influence and affect the conduct of

the Haitian government by intimidation and coercion, and VINCENT intended to do so.

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Date: [2.-65 —23

MARKENZY LAPOINTE
UNITED STATES ATTORNEY

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JOSEPH VINCENT
DEFENDANT
